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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA                   )
                                            )
                                 Plaintiff, )
                                            )             CRIMINAL ACTION
 v.                                         )
                                            )             No. 19-20059-01-JAR
 FENG TAO                                   )
                                            )
                                Defendants. )
                                            )
                                            )


                             JUDGMENT OF ACQUITTAL

       On April 7, 2022, Defendant Feng Tao was found not guilty on Counts 1, 2, 5 and 10

of the Second Superseding Indictment.


       On September 19, 2022, in its Memorandum and Order (Doc. 306), the Court granted

in part and denied in part Defendant Feng Tao’s Motion for Judgment of Acquittal, or, in the

Alternative, for a New Trial (Docs. 286, 290). The motion for judgment of acquittal is

granted on Counts 4, 6 and 7. The motion for judgment of acquittal and for new trial is

denied as to Count 9.


       IT IS ORDERED BY THE COURT that Defendant Feng Tao is acquitted, discharged

and any bond exonerated as to Count 1, 2, 4, 5, 6, 7 and 10 of the Second Superseding

Indictment.
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 IT IS SO ORDERED.

 Dated: September 20, 2022
                                S/ Julie A. Robinson
                               JULIE A. ROBINSON
                               UNITED STATES DISTRICT JUDGE
